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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                               CASE NO.

  VICTOR ARIZA,

         Plaintiff,

  vs.

  RACQUET WORLD, INC.,
  d/b/a TENNIS PLAZA,
  a Florida for-profit corporation,

        Defendant.
  ________________________________/

                                             COMPLAINT

         Plaintiff VICTOR ARIZA, through undersigned counsel, sues Defendant RACQUET

  WORLD, INC., d/b/a TENNIS PLAZA, a Florida for-profit corporation, and alleges as follows:

         1.        This is an action for declaratory and injunctive relief pursuant to Title III of the

  Americans with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R.

  Part 36. This further is an action for declaratory and injunctive relief, damages, attorney’s fees,

  costs, and expenses for lawful discrimination in violation of the Rehabilitation Act of 1973, 29

  U.S.C. §794, et seq. (“Rehab Act”). This is also an action for declaratory and injunctive relief to

  prevent the continuing act of trespass against the Plaintiff’s personal property and for

  compensatory damages to Plaintiff for such trespass. Remedies provided under common law for

  trespass are not exclusive and may be sought in connection with suits brought under the ADA and

  the Rehab Act.

        2.         This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331, and the provisions of the ADA and the Rehab Act. Plaintiff seeks declaratory and
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  injunctive relief pursuant to 28 U.S.C. §§2201 and 2202. In addition, this Court has supplementary

  jurisdiction over Plaintiff’s common law tort claim pursuant to 28 U.S.C. §1367.

         3.      Venue is proper in this Court as all actions complained of herein and injuries and

  damages suffered occurred in the Southern District of Florida.

         4.      Plaintiff VICTOR ARIZA is a resident of Miami-Dade County, Florida, is sui juris,

  and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C. §12101

  (“ADAAA”), and as defined by the Rehab Act. Plaintiff is also expressly authorized to bring this

  case as an otherwise qualified individual under the Rehab Act, 29 U.S.C. §§794(a)(2) and

  794(b)(3)(A), and under Section 505-f the Rehab Act which enforces Section 504 of the Rehab

  Act, 29 U.S.C. §§794 and 794a, incorporating the rights and remedies set forth in Title VI of the

  Civil Rights Act of 1964, 42 U.S.C. §2000d, et seq.

         5.      Plaintiff is and at all relevant times has been visually disabled in that he suffers

  from optical nerve atrophy, a permanent eye disease and medical condition that substantially and

  significantly impairs his vision and limits his ability to see. Plaintiff thus is substantially limited

  in performing one or more major life activities, including, but not limited to, seeing, accurately

  visualizing his world, and adequately traversing obstacles. As such, he is a member of a protected

  class under the ADA, 42 U.S.C. §12102(1)-(2), the regulations implementing the ADA set forth

  at 28 CFR §§36.101, et seq., and in 42 U.S.C. §3602(h). Plaintiff is also an otherwise qualified

  individual with a disability who has been denied the benefits of a program or activity receiving

  federal financial assistance and is covered by the Rehab Act, 29 U.S.C. §794(a).

         6.      Because he is blind and visually disabled, Plaintiff cannot use his computer without

  the assistance of appropriate and available screen reader software. Screen reader software

  translates the visual internet into an auditory equivalent. At a rapid pace, the software reads the



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  content of a webpage to the user. “The screen reading software uses auditory cues to allow a

  visually impaired user to effectively use websites. For example, when using the visual internet, a

  seeing user learns that a link may be ‘clicked,’ which will bring her to another webpage, through

  visual cues, such as a change in the color of the text (often text is turned from black to blue). When

  the sighted user's cursor hovers over the link, it changes from an arrow symbol to a hand. The

  screen reading software uses auditory—rather than visual—cues to relay this same information.

  When a sight impaired individual reaches a link that may be ‘clicked on,’ the software reads the

  link to the user, and after reading the text of the link says the word ‘clickable.’…Through a series

  of auditory cues read aloud by the screen reader, the visually impaired user can navigate a website

  by listening and responding with her keyboard.” Andrews v. Blick Art Materials, LLC, 17-CV-767,

  2017 WL 6542466, at *6-7 (E.D.N.Y. Dec. 21, 2017).

         7.      Defendant is a Florida for-profit corporation authorized to do business and doing

  business in the State of Florida. Defendant owns and operates a chain of retail sports apparel and

  equipment stores, including the store that Plaintiff had patronized and intended to patronize in the

  near future located at 6112 South Dixie Highway, Miami, Florida. Defendant also owns, leases,

  leases to, or operates a business that is the recipient of federal financial assistance in Miami-Dade

  County, Florida. See Exhibit “A” attached.

         8.      Plaintiff’s visual disability limits him in the performance of major life activities,

  including sight, and he requires assistive technologies, auxiliary aids and services for effective

  communication, including communication in connection with his use of a computer.

         9.      Plaintiff frequently accesses the internet. Because he is significantly and

  permanently blind and visually disabled, in order to effectively communicate and comprehend




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  information available on the internet and thereby access and comprehend websites, Plaintiff uses

  commercially available screen reader software to interface with the various websites.

            10.   At all times material hereto, Defendant was and still is an organization that owns

  and operates a chain of retail sports apparel and equipment stores under the name “Tennis Plaza.”

  Each Tennis Plaza store is open to the public. As the owner and operator of these retail stores,

  Defendant is defined as a place of “public accommodation" within meaning of Title III because

  Defendant is a private entity which owns and/or operates “[A] bakery, grocery store, clothing store,

  hardware store, shopping center, or other sales or rental establishment,” per 42 U.S.C.

  §12181(7)(E) and 28 C.F.R. §36.104(2).

            11.   Because Defendant is a store open to the public, each of Defendant’s physical stores

  is a place of public accommodation subject to the requirements of Title III of the ADA and its

  implementing regulations, 42 U.S.C. §12182, §12181(7)(E), and 28 C.F.R. Part 36.

            12.   Defendant    controls,   maintains,   and/or    operates   an    adjunct   website,

  https://www.tennisplaza.com (hereinafter the “Website”). One of the functions of the Website is

  to provide the public information on the locations of Defendant’s stores that sell its merchandise

  nationwide and within the State of Florida. Defendant also sells to the public its merchandise

  through the Website, which acts as a critical point of sale for Defendant’s network of physical

  stores.

            13.   The Website also services Defendant’s physical stores by providing information on

  their available merchandise, tips and advice, editorials, sales campaigns, events, and other

  information that Defendant is interested in communicating to its customers.

            14.   Because the Website allows the public the ability to secure information about the

  locations of Defendant’s physical stores, purchase merchandise also available for purchase in the



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  physical stores, purchase gift cards for use online and in the physical stores, and sign up for an

  electronic emailer to receive exclusive online offers, benefits, invitations, and discounts for use

  online and in the physical stores, the Website is an extension of, and gateway to, the goods,

  services, privileges, and advantages of Defendant’s physical stores. As a necessary service,

  privilege, and advantage provided by a place of public accommodation as defined under the ADA,

  the Website is an extension of the goods, services, privileges, and advantages made available to

  the general public by Defendant at and through its brick-and-mortar locations and businesses.

            15.   Because the public can view and purchase Defendant’s merchandise that is also

  offered for sale in Defendant’s physical stores, thus acting as a point of sale for Defendant’s

  merchandise sold in the physical stores, purchase gift cards for use in the physical stores, and sign

  up for an electronic emailer to receive exclusive online offers, benefits, invitations, and discounts

  for use online and in the physical stores, the Website is an extension of, gateway to, and necessary

  service, privilege, and advantage of the physical stores, which are places of public accommodation

  under the ADA, 42 U.S.C. §12181(7)(E). As such, the Website is a necessary service, privilege,

  and advantage of Defendant’s brick and mortar stores that must comply with all requirements of

  the ADA, must not discriminate against individuals with visual disabilities, and must not deny

  those individuals the same full and equal enjoyment of the goods, services, privileges, and

  advantages afforded to the non-visually disabled general public both online and in the physical

  stores.

            16.   At all times material hereto, Defendant was and still is an organization owning,

  operating, and controlling the Website. Since the Website is open to the public through the internet

  and is connected to Defendant’s physical stores as a point of sale for the purchase of merchandise

  and gift cards from Defendant and its network of physical stores, the Website is a necessary



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  service, privilege, and advantage of Defendant’s brick-and-mortar stores that must comply with

  all requirements of the ADA, must not discriminate against individuals with visual disabilities, and

  must not deny those individuals the full and equal enjoyment of the goods, services, privileges,

  and advantages afforded the non-visually disabled public both online and in the physical stores.

  As such, Defendant has subjected itself and the Website to the requirements of the ADA. In

  addition, as a recipient of federal financial assistance, Defendant has subjected itself and all its

  operations, programs, and activities, including its Website, to the requirements, prohibitions, and

  anti-discrimination provisions of the Rehab Act.

            17.   Plaintiff is and has been a customer who is interested in patronizing, and intends to

  patronize in the near future once the Website’s access barriers are removed or remedied,

  Defendant’s physical stores (including the store located at 6112 South Dixie Highway, Miami,

  Florida), and to search for the brick and mortar stores, check store hours and merchandise pricing,

  purchase merchandise, purchase gift cards, and sign up for an electronic emailer to receive offers,

  benefits, exclusive invitations, and discounts for use at the Website or in Defendant’s physical

  stores.

            18.   The opportunity to shop and pre-shop Defendant’s merchandise offered for sale in

  the physical stores, purchase gift cards for use in the physical stores, and sign up for an electronic

  emailer to receive offers, benefits, exclusive invitations, and discounts for use in the physical stores

  from his home are important accommodations for Plaintiff because traveling outside of his home

  as a blind and visually disabled individual is often difficult, hazardous, frightening, frustrating and

  confusing experience. Defendant has not provided its business information in any alternative

  digital format that is accessible for use by blind and visually disabled individuals using screen

  reader software while using the internet.



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         19.     Like many consumers, Plaintiff accesses numerous websites at a time to compare

  merchandise, prices, sales, discounts, and promotions. Plaintiff may look at several dozens of sites

  to compare features, discounts, promotions, and prices.

         20.     During the month of March 2021, Plaintiff attempted on a number of occasions to

  utilize the Website to browse through the merchandise and online offers to educate himself as to

  the merchandise, sales, discounts, and promotions being offered, and with the intent of making a

  purchase through the Website or at one of the Defendant’s stores.

         21.     Plaintiff utilizes screen reader software that allows individuals who are blind and

  visually disabled to communicate with websites. However, Defendant’s Website contains access

  barriers that prevent free and full use by blind and visually disabled individuals using keyboards

  and available screen reader software. These barriers are pervasive and include, but are not limited

  to:

                 a. Consistent interference with the cookies notice, after accepting the cookies
                    policy terms the notification continues to read it repeatedly;

                 b. Site elements like checking store availability, size color, and status are
                    inaccessible; and

                 c. Out of stock notification is not labeled to integrate with the screen reader.

         22.     The Website also lacks prompting information and accommodations necessary to

  allow blind and visually disabled individuals who use screen reader software to locate and

  accurately fill out online forms to purchase Defendant’s merchandise from the Website.

         23.     Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

  Website that would direct him to a webpage with contact information for disabled individuals who

  have questions or concerns about, or who are having difficulties communicating with, the Website.

  Although, the Website appeared to have an “accessibility” statement displayed, that “accessibility”



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  statement contact information was tested and determined not to provide a viable alternative means

  to quickly and effectively access and navigate the Website, thus continuing to be a barrier to blind

  and visually disabled persons, including Plaintiff.

         24.     The fact that Plaintiff could not communicate with or within the Website left him

  feeling excluded as he is unable to participate in the same online and in store shopping experience,

  with the same access to the merchandise, sales, discounts, and promotions, as provided at the

  Website and in the physical stores as the non-visually disabled public.

         25.     Plaintiff desires and intends, in the near future once the Website’s access barriers

  are removed or remedied, to patronize Defendant’s physical stores and to use the Website as an

  extension, service, privilege, and advantage of the physical stores, but he is presently unable to

  fully do so as he is unable to effectively communicate with Defendant’s physical stores due to his

  severe visual disability and the Website’s access barriers. Thus, Plaintiff, and others who are blind

  and visually disabled, will suffer continuous and ongoing harm from Defendant’s intentional acts,

  omissions, policies, and practices as set forth herein unless properly enjoined by this Court.

         26.     Because the Website clearly provides support and is connected to Defendant’s retail

  stores for the purchase of Defendant’s goods, services, operation, and use, and thus is a necessary

  service, privilege, advantage, and accommodation of Defendant’s brick-and-mortar stores, the

  Website must comply with all requirements of the ADA, must not discriminate against individuals

  with disabilities, and must not deny those individuals the same full and equal enjoyment of and

  access to the goods, services, privileges, and advantages as are afforded the non-visually disabled

  public both online and in the physical stores, which are places of public accommodation subject

  to the requirements of the ADA.




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          27.     On information and belief, Defendant has not initiated a Web Accessibility Policy

  to ensure full and equal use of the Website by individuals with disabilities.

          28.     On information and belief, Defendant has not instituted a Web Accessibility

  Committee to ensure full and equal use of Website by individuals with disabilities.

          29.     On information and belief, Defendant has not designated an employee as a Web

  Accessibility Coordinator to ensure full and equal use of the Website by individuals with

  disabilities.

          30.     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to ensure full and equal use of the Website by individuals with

  disabilities.

          31.     On information and belief, Defendant has not instituted a User Accessibility

  Testing Group to ensure full and equal use of the Website by individuals with disabilities.

          32.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

          33.     On information and belief, Defendant has not instituted an Automated Web

  Accessibility Testing program.

          34.     Defendant has not created and instituted a Specialized Customer Assistance line or

  service or email contact mode for customer assistance for the blind and visually disabled.

          35.     Defendant has not created and instituted on the Website a page for individuals with

  disabilities, nor displayed a link and information hotline, nor created an information portal

  explaining when and how Defendant will have the Website, applications, and digital assets

  accessible to the visually disabled or blind community.

          36.     The Website does not meet the Web Content Accessibility Guidelines (“WCAG”)

  2.0 Level AA or higher versions of web accessibility.



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            37.   Defendant has not disclosed to the public any intended audits, changes, or lawsuits

   to correct the inaccessibility of the Website to visually disabled individuals who want the safety

   and privacy of purchasing Defendant’s merchandise offered on the Website online from their

   homes.

            38.   Thus, Defendant has not provided full and equal enjoyment of, and access to, the

   goods, services, facilities, privileges, advantages, accommodations, programs and activities

   provided by and through the Website and the physical stores in contravention of the ADA and the

   Rehab Act.

            39.   Further, public accommodations under the ADA must ensure that their places of

   public accommodation provide effective communication for all members of the general public,

   including individuals with visual disabilities such as Plaintiff. Likewise, under the Rehab Act,

   public accommodations and companies that receive federal financial assistance must not

   discriminate against disabled persons and are required to make the facilities, programs, or activities

   they operate fully and readily accessible to persons with disabilities.

            40.   The broad mandate of the ADA is to provide an equal opportunity for individuals

   with disabilities to participate in and benefit from all aspects of American civic and economic life.

   That mandate extends to internet shopping websites such as the Website. In addition, Congress

   enacted the Rehab Act to enforce the policy of the United States that all programs, projects, and

   activities receiving federal assistance " ... be carried out in a manner consistent with the principles

   of ... inclusion, integration and full participation of the individuals [with disabilities]." 29 U.S.C.

   §701(c)(3).




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          41.     Defendant is, and at all relevant times has been, aware of the barriers to effective

   communication within the Website which prevent individuals with visual disabilities from the

   means to comprehend information presented therein.

          42.     Defendant is, and at all relevant times has been, aware of the need to provide full

   access to all visitors to the Website.

          43.      The barriers that exist on the Website result in discriminatory and unequal

   treatment of individuals with visual disabilities such as Plaintiff.

          44.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

   alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means

   to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

   in connection with its website access and operation.

          45.     Notice to Defendant is not required because of Defendant’s failure to cure the

   violations.

          46.     Enforcement of Plaintiff’s rights under the ADA and the Rehab Act is right and just

   pursuant to 28 U.S.C. §§2201 and 2202.

          47.     Plaintiff has retained the undersigned attorneys to represent him in this case, and

   has agreed to pay them a reasonable fee for their services.

                                            Trespass Violations

          48.     Plaintiff utilizes his computer to access websites such as Defendant’s Website.

          49.     Plaintiff uses his computer as a method of conveyance of his personal information.

   Plaintiff stores his personal information and retains his browsing history on his computer.

          50.     Based upon a review of the Website, when a user accesses the Website, Defendant

   places software on the Plaintiff’s personal computer and hard drive, without the user’s advance



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   consent or knowledge. It is also clear that Defendant has used browser cookies to identify websites

   that Plaintiff has previously visited by accessing Plaintiff’s web browser history.

          51.        Defendant informs the Website user that the user’s personal information and

   browsing history is collected and is used for targeted marketing and advertising.

          52.       Because of his blindness, Plaintiff was unable to fully and meaningfully

   comprehend the Website; therefore, Plaintiff had no choice as to, and likewise no knowledge of,

   Defendant’s installation of the data and information gathering and tracking software, and the

   collection of his browsing history, that was placed on his computer and its hard drive, which in

   fact occurred.

          53.       Through its Website, Defendant thus has committed a trespass against the Plaintiff

   by the Website’s placement of information gathering and tracking software on Plaintiff’s computer

   without Plaintiff’s knowledge or prior consent.

                                COUNT I – VIOLATION OF THE ADA

          54.       Plaintiff re-alleges paragraphs 1 through 47 as if set forth fully herein.

          55.       Pursuant to 42 U.S.C. §12181(7)(E), Defendant is a public accommodation under

   the ADA because it owns and/or operates physical stores and the connected Website, as defined

   within §12181(7)(E) and is subject to the ADA.

          56.       Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the ADA

   because it provides the general public with the ability to locate and learn about Defendant’s

   physical stores, acts as a point of sale for Defendant’s merchandise from its network of physical

   stores by allowing users to purchase merchandise that is also available for purchase in the physical

   stores, purchase gift cards for use online and in the physical stores, and allows users to sign up for

   an electronic emailer to receive exclusive online offers, benefits, invitations, and discounts for use



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   both online and in the physical stores. The Website thus is an extension of, gateway to, and

   necessary service, privilege, and advantage of Defendant’s physical stores that Plaintiff intended

   to patronize. Further, the Website also serves to augment Defendant’s physical stores by providing

   the public information on the locations of the stores and by educating the public as to Defendant’s

   available products sold through the Website and in the physical stores. The Website thus is

   necessary for Plaintiff to fully enjoy and have access to all of the goods, services, privileges, and

   advantages being offered by Defendant both online and through its physical stores.

          57.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

   discrimination to deny individuals with disabilities or a class of individuals with disabilities an

   opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

   or accommodation, which is equal to the opportunities afforded to other individuals.

          58.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

   discrimination includes, among other things, “a failure to make reasonable modifications in

   policies, practices, or procedures, when such modifications are necessary to afford such goods,

   services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

   unless the entity can demonstrate that making such modifications would fundamentally alter the

   nature of such goods, services, facilities, privileges, advantages or accommodations.”

          59.     In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

   discrimination includes, among other things, “a failure to take such steps as may be necessary to

   ensure that no individual with a disability is excluded, denied services, segregated or otherwise

   treated differently than other individuals because of the absence of auxiliary aids and services,

   unless the entity can demonstrate that taking such steps would fundamentally alter the nature of




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   the good, service, facility, privilege, advantage, or accommodation being offered or would result

   in an undue burden.”

          60.     Defendant’s Website must comply with the ADA, but it does not as specifically

   alleged hereinabove and below.

          61.     Because of the inaccessibility of the Website, individuals with visual disabilities

   are denied full and equal enjoyment of the information and services that Defendant has made

   available to the public on its Website and in its physical stores in violation of 42 U.S.C. §12101,

   et seq., and as prohibited by 42 U.S.C. §12182, et seq.

          62.     The Website was subsequently visited by Plaintiff’s expert in March 2021, and the

   expert determination was that the same access barriers that Plaintiff had initially encountered, as

   well as numerous additional access barriers, existed. Defendant thus has made insufficient

   material changes or improvements to the Website to enable its full use, enjoyment, and

   accessibility for blind and visually disabled persons such as Plaintiff. When the Website was

   visited by the expert, it was also revealed that, although the Website had an “accessibility”

   statement linked from its home page, that “accessibility” statement still could not be effectively

   used or accessed by, and continued to be a barrier to, visually disabled persons such as Plaintiff.

   Defendant also has not disclosed to the public any intended audits, changes, or lawsuits to correct

   the inaccessibility of the Website to visually disabled individuals. Defendant thus has failed to

   make reasonable modifications in its policies, practices, or procedures when such modifications

   are necessary to afford goods, services, facilities, privileges, advantages, or accommodations to

   individuals with disabilities, in violation of 28 C.F.R. §36.302. The lack of a viable and effective

   “accessibility” notice, policy, or statement and the numerous access barriers as set forth in the

   Declaration of Plaintiff’s expert, Robert D. Moody, attached hereto as Composite Exhibit “B” and



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   the contents of which are incorporated herein by reference, continue to render the Website not

   fully accessible to users who are blind and visually disabled, including Plaintiff.

           63.     More violations may be present on other pages of the Website, which can and will

   be determined and proven through the discovery process in this case.

           64.     Further, the Website does not offer or include the universal symbol for the disabled

   that would permit disabled individuals to access the Website’s accessibility information and

   accessibility facts.

           65.     There are readily available, well established guidelines on the internet for making

   websites accessible to the blind and visually disabled. These guidelines have been followed by

   other large business entities in making their websites accessible. Examples of such guidelines

   include, but are not limited to, adding alt-text to graphics and ensuring that all functions can be

   performed using a keyboard. Incorporating such basic components to make the Website accessible

   would neither fundamentally alter the nature of Defendant’s business nor would it result in an

   undue burden to Defendant.

           66.     Defendant has violated the ADA – and continues to violate the ADA – by denying

   access to the Website, and hence to its interconnected physical stores, by individuals such as

   Plaintiff with visual disabilities who require the assistance of interface with screen reader software

   to comprehend and access internet websites. These violations within the Website are ongoing.

           67.     The ADA and ADAAA require that public accommodations and places of public

   accommodation ensure that communication is effective.

           68.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

   text, and video-based telecommunications products and systems”. Indeed, 28 C.F.R. §36.303(b)(2)




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   specifically states that screen reader software is an effective method of making visually delivered

   material available to individuals who are blind or have low vision.

          69.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

   appropriate auxiliary aids and services where necessary to ensure effective communication with

   individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

   in accessible formats, in a timely manner, and in such a way as to protect the privacy and

   independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

          70.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

   subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

   public accommodations, and requires places of public accommodation to be designed, constructed,

   and altered in compliance with the accessibility standards established by Part 36.

          71.     As alleged hereinabove, the Website has not been designed to interface with the

   widely and readily available technologies that can be used to ensure effective communication, and

   thus violates the ADA.

          72.     As a direct and proximate result of Defendant’s failure to provide an ADA

   compliant Website that is an extension, service, privilege, and advantage of, and point of sale for,

   Defendant’s brick-and-mortar stores, Plaintiff has suffered an injury in fact by being denied full

   access to and enjoyment of Defendant’s physical stores.

          73.     Because of the inadequate development and administration of the Website, Plaintiff

   is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

   ongoing disability discrimination.

          74.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

   Plaintiff appropriate and necessary injunctive relief; including an order to:



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          a) Require Defendant to adopt and implement a web accessibility policy to make publicly

   available and directly link from the homepage of the Website to a functional statement as to the

   Defendant’s policy to ensure persons with visual disabilities have full and equal enjoyment of the

   services, facilities, privileges, advantages, and accommodations offered in Defendant’s physical

   stores through the Website.

          b) Require Defendant to take the necessary steps to make the Website readily accessible

   to and usable by blind and visually disabled users, and during that time period prior to the

   Website’s being readily accessible, to provide an alternative method for individuals with visual

   disabilities to access the information available on the Website until such time that the requisite

   modifications are made, and

          c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

   visual disabilities will be able to effectively communicate with the Website for purposes of

   viewing and locating Defendant’s physical stores and becoming informed of and purchasing

   Defendant’s merchandise online, and during that time period prior to the Website’s being designed

   to permit individuals with visual disabilities to effectively communicate, to provide an alternative

   method for individuals with visual disabilities to effectively communicate for such goods and

   services made available to the general public through the Website and the physical stores.

          75.     Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

   pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

   for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

   services.

          WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

   the following relief:



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        A. A declaration that Defendant’s Website is in violation of the ADA;

        B. An Order requiring Defendant, by a date certain, to update the Website, and continue

           to monitor and update the Website on an ongoing basis, to remove barriers in order that

           individuals with visual disabilities can access, and continue to access, the Website and

           effectively communicate with the Website to the full extent required by Title III of the

           ADA;

        C. An Order requiring Defendant, by a date certain, to clearly display the universal

           disabled logo within the Website, wherein the logo1 would lead to a page which would

           state Defendant’s accessibility information, facts, policies, and accommodations. Such

           a clear display of the disabled logo is to ensure that individuals who are disabled are

           aware of the availability of the accessible features of the Website;

        D. An Order requiring Defendant, by a date certain, to provide ongoing support for web

           accessibility by implementing a website accessibility coordinator, a website application

           accessibility policy, and providing for website accessibility feedback to ensure

           compliance thereto;

        E. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

           procedures toward persons with disabilities, for such reasonable time to allow

           Defendant to undertake and complete corrective procedures to its Website;

        F. An Order directing Defendant, by a date certain, to establish a policy of web

           accessibility and accessibility features for the Website to ensure effective

           communication for individuals who are visually disabled;




   1
                    or similar.

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             G. An Order requiring, by a date certain, that any third-party vendors who participate on

                   Defendant’s Website to be fully accessible to the visually disabled;

             H. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

                   provide mandatory web accessibility training to all employees who write or develop

                   programs or code for, or who publish final content to, the Website on how to conform

                   all web content and services with ADA accessibility requirements and applicable

                   accessibility guidelines;

             I. An Order directing Defendant, by a date certain and at least once every three months

                   thereafter, to conduct automated accessibility tests of the Website to identify any

                   instances where the Website is no longer in conformance with the accessibility

                   requirements of the ADA and any applicable accessibility guidelines, and further

                   directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

                   counsel for review;

             J. An Order directing Defendant, by a date certain, to make publicly available and directly

                   link from the Website homepage, a statement of Defendant’s Accessibility Policy to

                   ensure the persons with disabilities have full and equal enjoyment of the Website and

                   shall accompany the public policy statement with an accessible means of submitting

                   accessibility questions and problems;

             K. An award to Plaintiff of his reasonable attorney’s fees, costs, and expenses; and

             L. Such other and further relief as the Court deems just and equitable.

                      COUNT II – VIOLATION OF THE REHABILITATION ACT

             76.      Plaintiff re-alleges paragraphs 1 through 47 and 62 through 65 as if set forth fully

   herein.



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          77.     As more specifically set forth above, Defendant has violated the Rehab Act by

   failing to interface its Website with screen reader software utilized by visually disabled

   individuals. Thus, Defendant has violated the Rehab Act, either directly or through contractual,

   licensing, or other arrangements, with respect to Plaintiff and other similarly situated blind and

   visually disabled individuals solely by reason of their disability:

          a)      By excluding Plaintiff from participation in, denying him the benefits of, and

   subjecting him to, discrimination under any program or activity receiving federal financial

   assistance, Defendant has violated the Rehab Act;

          b)      Congress enacted the Rehab Act to enforce the policy of the United States that all

   programs, projects, and activities receiving federal assistance "be carried out in a manner

   consistent with the principles of ... inclusion, integration and full participation of the individuals

   [with disabilities]." 29 U.S.C. §701(c)(3);

          c)      Defendant is a recipient of federal financial assistance bringing it under the Rehab

   Act, which prohibits discrimination against qualified or otherwise qualified individuals in all of

   the recipient's "programs or activities";

          d)      Section 504 of the Rehab Act prohibits recipients of federal funding from

   discriminating against disabled persons and requires that all facilities, programs, or activities

   operated by the federally funded entity be readily accessible to persons with disabilities;

          e)      The Rehab Act defines "program or activity" as all of the operations of the entire

   corporation, partnership, or other private organization, or sole proprietorship as a whole that

   receive and distributes federal financial assistance. Defendant's Website with its content is a

   "program or activity" within the meaning of the Rehab Act, 29 U.S.C. §794(b)(3)(A);




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           f)      Plaintiff was denied access to the Website solely by reason of his disability. This

   denial of access to Defendant's "program or activity" subjected Plaintiff to discrimination,

   excluded Plaintiff from participation in the program or activity, and denied Plaintiff the benefits

   of the Website, a service available to those persons who are not blind and visually disabled. As of

   this filing, the Website remains inaccessible to qualified or otherwise qualified persons with visual

   disabilities such as Plaintiff;

           g)      The international website standards organization, WC3, has published widely

   accepted guidelines (WCAG 2.0 AA and WCAG 2.1) for making digital content accessible to

   individuals with disabilities.    These guidelines have been endorsed by the United States

   Department of Justice and by the Federal courts and the United States Access Board as being

   applicable to websites; and,

           h)      Defendant has engaged in unlawful practices in violation of Section 504 of the

   Rehab Act, 29 U.S.C. §794, in the maintenance of the Website. These practices include, but are

   not limited to, denying Plaintiff, an individual with a visual disability who, with or without

   reasonable modifications to the rules, policies, or practices, the removal of communication

   barriers, or the provision of auxiliary aids and services, meets the essential eligibility requirements

   for the receipt of services to participate in programs or activities provided by Defendant.

           78.     Defendant has acted with deliberate indifference to the applicable provisions of the

   Rehab Act as to the unlawful practices described herein because Defendant is, and has been, fully

   aware of the inaccessible features of the Website and has failed to remediate the Website to make

   it equally accessible to persons with visual disabilities, including Plaintiff. Defendant knew that

   harm to a federally protected right was substantially likely yet to occur, yet it failed to act on that

   likelihood when it failed to remediate the Website. Defendant knew this and, on information and



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   belief, a person with authority with Defendant to order the remediation of the Website made a

   deliberate choice not to remediate it and to continue to offer the inaccessible Website to its

   customers and potential customers knowing that the Website was, and continues to be, inaccessible

   to the blind and visually disabled.

          79.     Plaintiff would like to be a customer at Defendant's brick and mortar stores but

   before he goes to any of the stores, he would like to determine what is available for his purchasing,

   what promotions are being offered, and what new items are currently available in the stores. In

   that regard, Plaintiff continues to attempt to utilize the Website and plans to continue to utilize the

   Website on a regular basis to make selections for purchasing Defendant’s merchandise online or

   in the physical stores.

          80.     Plaintiff is continuously aware of the violations at Defendant's Website and is aware

   that it would be a futile gesture to attempt to utilize the Website as long as those violations and

   access barriers alleged herein continue to exist, unless he is willing to suffer additional

   discrimination.

          81.     Plaintiff has suffered, and continues to suffer, frustration and humiliation as a direct

   result of the discriminatory conditions present at the Website. By continuing to operate the

   Website with discriminatory conditions, Defendant contributes to Plaintiff's sense of isolation and

   segregation and deprives Plaintiff the full and equal enjoyment of the benefits of the programs and

   activities available to the general public. By encountering the discriminatory conditions at the

   Website and knowing that it would be a futile gesture to attempt to utilize the Website unless he

   is willing to endure additional discrimination, Plaintiff is deprived of the meaningful choice of

   freely visiting and utilizing the same stores or the Website readily available to the general public

   and is deterred and discouraged from doing so. By maintaining the Website with access barriers



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   and Rehab Act violations, Defendant deprives Plaintiff the same equal access and participation in

   and benefits of its programs and activities as the non-visually disabled public.

          82.     Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

   of Defendant's present and ongoing discrimination until the Defendant is compelled to comply

   with the requirements of the Rehab Act.

          83.     Plaintiff has a realistic, credible, existing, and continuing threat of discrimination

   from Defendant's noncompliance with the Rehab Act as to the Website as described hereinabove.

   Plaintiff has reasonable grounds to believe that he will continue to be subjected to discrimination

   in violation of the Rehab Act by the Defendant. Plaintiff desires to access the Website to avail

   himself of the benefits thereon and/or to assure himself that the Website is in compliance with the

   Rehab Act so he and other similarly situated visually disabled persons will have full and equal

   enjoyment of the Website without fear of discrimination.

          84.     Plaintiff, as well as others who are blind and visually disabled seeking to access the

   Website, will continue to suffer such discrimination, injury, and damage without the immediate

   relief provided by the Rehab Act as requested herein.

          85.     Plaintiff is without adequate remedy at law and is suffering irreparable harm based

   on the facts alleged hereinabove.

          86.     Plaintiff has retained the undersigned counsel to represent him and is entitled to

   recover his attorney's fees, costs, and litigation expenses from Defendant pursuant to the Rehab

   Act.

          WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

   the following relief:




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        A. A declaration that determines that Defendant's Website at the commencement of the

        subject lawsuit was in violation of the Rehabilitation Act;

        B. A declaration that Defendant's Website continues to be in violation of the Rehabilitation

        Act;

        C. A declaration that Defendant has violated the Rehabilitation Act by failing to monitor

        and maintain its Website to ensure that it is readily accessible to and usable by persons

        with visual disabilities;

        D. Issuance of an Order directing Defendant, by a date certain, to alter its Website to make

        it accessible to, and useable by, individuals with visual disabilities to the full extent

        required by the Rehabilitation Act;

        E. Issuance of an Order directing Defendant to evaluate and neutralize its policies and

        procedures towards persons with disabilities for such reasonable time so as to allow

        Defendant to undertake and complete corrective and remedial procedures;

        F. Issuance of an Order directing Defendant to continually update and maintain its Website

        to ensure that it remains fully accessible to and usable by visually disabled individuals;

        G.     Award Plaintiff any and all compensatory damages for Defendant’s deliberate

        indifference to his rights under the Rehabilitation Act;

        H. Award Plaintiff his attorney's fees, costs, and litigation expenses pursuant to the

        Rehabilitation Act; and

        I. Award such other relief as the Court deems just and proper and is allowable under the

        Rehabilitation Act.

                                      COUNT III – TRESPASS

        87.      Plaintiff re-alleges paragraphs 1 through 53 as if set forth fully herein.



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          88.     Plaintiff’s tangible personal property, being his computer, its hard drive, and the

   personal information and browsing history stored therein, has suffered a trespass by Defendant on

   each and every occasion that Plaintiff has accessed the Website, due to Defendant’s automatic

   installation of information gathering and tracking software and analytics, which are present on and

   through the Website, on Plaintiff’s computer.

          89.     At all relevant times, Plaintiff did not consent to and was unaware that the Website

   was placing software on his computer due to his inability to effectively communicate with and

   fully view and access the Website.

          90.     Plaintiff did not consent to the placement of the information gathering and tracking

   software on his computer and its hard drive; therefore, Defendant has committed a trespass against

   Plaintiff by placing such software on his computer and hard drive without his knowledge or prior

   consent.

          91.     By the acts described hereinabove, Defendant has repeatedly and persistently

   engaged in trespass of Plaintiff’s personal property in violation of Florida common law against

   trespass.

          92.     Defendant’s automatic installation, operation, and execution of information

   gathering and tracking software on Plaintiff’s computer and its hard drive have directly and

   proximately impaired the condition and value of the Plaintiff’s computer, thereby causing Plaintiff

   damages.

          93.     The Website has a “Privacy Policy” that discusses the automatic gathering of

   information from, and the automatic placement of cookies and other information gathering

   software on, computers and electronic devices of users of the Website such as Plaintiff. A copy




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   of that “Privacy Policy” is attached hereto as Exhibit “C” and its contents are incorporated herein

   by reference.

          94.       Defendant’s trespass to chattels, nuisance, and interference has caused real and

   substantial damage to Plaintiff as follows:

          a)    By consuming the resources of and/or degrading the performance of Plaintiff’s

   computer (including space, memory, processing cycles, and internet connectivity);

          b) By infringing on Plaintiff’s right to exclude others from his computer;

          c) By infringing on Plaintiff’s right to determine, as the owner of his computer, which

   programs should be installed and operated on his computer;

          d) By compromising the integrity, security, and ownership of Plaintiff’s computer; and

          e) By forcing Plaintiff to expend money, time, and resources in order to remove the

   programs that had been installed on his computer without notice or consent.

          95.       Defendant’s actions were taken knowingly, willfully, intentionally, and in reckless

   disregard for Plaintiff’s rights under the law.

          WHEREFORE, Plaintiff demands a judgment be entered against Defendant for all of

   Plaintiff’s compensatory damages, interest, costs, and such further relief as the Court deems just

   and equitable.

          DATED: June 15, 2021.




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